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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

 MONTPELIER US INSURANCE                        CIVIL ACTION NO. 6:13-cv-00773
 COMPANY

 VERSUS                                         JUDGE DOHERTY

 JOHN HENRY AND TRACY HENRY                     MAGISTRATE JUDGE HANNA


                      REPORT AND RECOMMENDATION


       Currently pending before the court is the motion to dismiss for lack of subject

 matter jurisdiction and/or for failure to state a claim that was filed by the defendants,

 John Henry and Tracy Henry. (Rec. Doc. 12). The motion was referred to the

 undersigned for review, report, and recommendation in accordance with the

 provisions of 28 U.S.C. § 636 and the standing orders of this court. (Rec. Doc. 14).

 The motion is opposed. (Rec. Doc. 15). For the reasons set forth below, the

 undersigned recommends that the motion be granted and that this lawsuit be

 dismissed with prejudice.

                               FACTUAL BACKGROUND

       On November 7, 2010, Robert Henry d/b/a Rob’s Lounge allegedly sponsored

 a float in the Creole Festival parade. The float allegedly consisted of a tractor truck

 owned by Robert Henry and a trailer owned by Michael Darjean. Defendant John
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 Henry was a rider on the float. During the parade, he fell from the float, allegedly

 sustaining multiple injuries including a disk herniation at the C5-6 level that allegedly

 paralyzed his arms and legs. John and Tracy Henry filed suit in the 27th Judicial

 District Court, St. Landry Parish, Louisiana, seeking to recover for Mr. Henry’s

 alleged injuries and for Mrs. Henry’s alleged loss of consortium, asserting claims

 against Robert Henry, Robert Henry d/b/a Rob’s Lounge, and others.1 In their second

 supplemental and amending petition (Rec. Doc. 12-2), which was filed after

 Montpelier instituted this action (Rec. Doc. 12-1 at 2),2 John and Tracy Henry added

 a claim against Montpelier US Insurance Company, alleging that Montpelier issued

 an insurance policy to Robert Henry and Robert Henry d/b/a Rob’s Lounge, which

 provides coverage for their damages.




        1
                 The movers did not attach a copy of the original state-court petition to their
 submissions. Although the defendants’ brief states that copies of the original petition, the first
 supplemental and amending petition, and the second supplemental and amending petitions are
 attached (Rec. Doc. 12-1 at 2), only a copy of the second supplemental and amending petition is
 actually attached to the memorandum in support of the motion to dismiss. The Henrys state,
 however, that the original petition was filed on November 4, 2011 and assigned Docket No. 11-C-
 5186-B on the docket of the 27th Judicial District Court, St. Landry Parish, Louisiana. (Rec. Doc.
 12-1 at 1). Montpelier attached a copy of the original complaint to its opposition brief (Rec. Doc.
 15-1), which indicates that the petition was filed on November 4, 2011. Neither party submitted a
 copy of the first supplemental and amending petition.
        2
                This lawsuit was filed on April 12, 2013 (Rec. Doc. 1), and the state-court petition
 was amended on January 2, 2014 to assert a claim against Montpelier (Rec. Doc. 19-2), the same day
 that the Henrys filed their motion to dismiss Montpelier’s complaint in this action (Rec Doc. 12).

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       Montpelier brought this lawsuit, seeking a declaration that the commercial

 general liability insurance policy it issued to Robert Henry d/b/a Rob’s Lounge

 provides no coverage for the injuries allegedly sustained by the Henrys as a result of

 Mr. Henry’s fall from the parade float. Montpelier bases its argument on the policy’s

 exclusion of coverage for bodily injuries incurred as a result of the ownership,

 maintenance, or use of an automobile. According to Montpelier, the accident

 occurred when “the driver of the vehicle failed to maintain control of his vehicle

 when the tractor truck jerked forward causing him to lose his balance while making

 an unsafe turn.” (Rec. Doc. 1 at 3).

       John and Tracy Henry responded to Montpelier’s complaint with the instant

 motion to dismiss, arguing that Montpelier’s motion should have been filed in state

 court and that the complaint filed by Montpelier in this forum should be dismissed

                                        ANALYSIS

       The Henrys describe their motion to dismiss as either a Fed. R. Civ. P. 12(b)(1)

 motion to dismiss for lack of subject-matter jurisdiction or a Fed. R. Civ. P. 12(b)(6)

 motion to dismiss for failure to state a claim.

 A.    DOES THIS COURT HAVE SUBJECT-MATTER JURISDICTION?

       In its complaint, Montpelier alleges that this court has subject-matter

 jurisdiction under 28 U.S.C. § 1332. The party invoking subject-matter jurisdiction

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 in federal court has the burden of establishing the court’s jurisdiction.3 Thus, in this

 case, Montpelier must bear that burden. Having reviewed the pleadings, the

 undersigned finds that Montpelier has satisfied its burden.

          Under 28 U.S.C. § 1332, this court has subject-matter jurisdiction over an

 action when the parties are diverse in citizenship and the amount in controversy

 exceeds $75,000.00. In its complaint, Montpelier alleges that it is a New Jersey

 corporation with its principal place of business in Arizona. (Rec. Doc. 1 at 1). A

 corporation is deemed to be a citizen of any state in which it is incorporated and any

 state where it has its principal place of business.4 Therefore, Montpelier is a citizen

 of both New Jersey and Arizona. In its complaint, Montpelier alleges that John and

 Tracy Henry reside in St. Landry Parish, Louisiana. (Rec. Doc. 1 at 1). The

 citizenship of a natural person is determined by the state in which he or she is

 domiciled, and domicile is a combination of both a person's residence and his intent

 to remain there permanently.5 Therefore, “an allegation that a party is a resident of

 a certain state is not a sufficient allegation of his citizenship in that state.”6 Evidence


          3
                See, e.g., St. Paul Reinsurance Co., Ltd. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir.
 1998).
          4
                28 U.S.C. § 1332(c)(1).
          5
                Hollinger v. Home State Mutual Insurance Co., 654 F.3d 564, 571 (5th Cir. 2011).
          6
                Delome v. Union Barge Line Co., 444 F.2d 225, 233 (5th Cir. 1971).

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 of a person's place of residence, however, is prima facie proof of his domicile.7 No

 contrary evidence having been presented, the undersigned finds that the Henrys are

 Louisiana citizens. Thus, the parties are diverse in citizenship.

        To satisfy its burden of showing that the amount in controversy is sufficient to

 support federal-court jurisdiction, Montpelier must either (1) demonstrate that it is

 facially apparent that the claims are likely valued above $75,000 or (2) set forth the

 specific facts in controversy that support a finding of the jurisdictional amount.8

 “[T]he amount in controversy, in an action for declaratory or injunctive relief, is the

 value of the right to be protected or the extent of the injury to be prevented.”9 In this

 case, the issue is whether Montpelier’s insurance policy provides coverage for the

 Henrys’ damages. Since Mr. Henry was allegedly rendered a quadriplegic by the

 accident, it is facially apparent from the complaint that the amount in controversy

 exceeds the jurisdictional minimum.

        The undersigned finds that both prongs of the jurisdictional analysis are

 satisfied, and the Henrys’ objection to having this court adjudicate the action does not



        7
               Hollinger v. Home State, 654 F.3d at 571.
        8
               St. Paul v. Greenberg, 134 F.3d at 1253.
        9
                Webb v. Investacorp, Inc., 89 F.3d 252, 256 (5th Cir. 1996), citing Leininger v.
 Leininger, 705 F.2d 727, 729 (5th Cir. 1983). See, also, Farkas v. GMAC Mortgage, L.L.C., 737
 F.3d 338, 341 (5th Cir. 2013).

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 target this court’s subject-matter jurisdiction. Therefore, to the extent that the

 Henrys’ motion is construed as a motion to dismiss for lack of subject-matter

 jurisdiction, the motion is denied.

 B.     DOES THE COMPLAINT STATE A CLAIM?

        The Henrys alternatively described their motion as a motion to dismiss for

 failure to state a claim upon which relief may be granted by this court. They argue

 that Montpelier cannot meet the essential elements for declaratory relief under the

 Declaratory Judgment Act, 28 U.S.C. § 2201, and therefore argue that the complaint

 fails to state a claim on which relief may be granted by this court.

        “The Declaratory Judgment Act. . . is an enabling act, which confers discretion

 on the courts rather than an absolute right on a litigant.”10 It is well-settled that a

 district court has broad discretion over whether to decide or dismiss a declaratory

 judgment action.11 Before making that decision, however, a district court must first

 (1) determine whether the declaratory action is justiciable; (2) determine whether the




        10
               Sherwin–Williams Co. v. Holmes County, 343 F.3d 383, 389 (5th Cir. 2003).
        11
               Travelers Insurance Co. v. Louisiana Farm Bureau Federation., 996 F.2d 774, 778
 (5 Cir. 1993); Granite State Insurance Co. v. Tandy Corp., 986 F.2d 94, 96 (5th Cir. 1992).
   th



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 court has the authority to grant declaratory relief; and (3) determine how to exercise

 its broad discretion to decide or dismiss the action.12

        The Declaratory Judgment Act reads as follows, in pertinent part: “In a case

 of actual controversy within its jurisdiction, . . . any court of the United States. . . may

 declare the rights and other legal relations of any interested party seeking such

 declaration, whether or not further relief is or could be sought.”13 A three-part inquiry

 is used when considering a declaratory judgment action. “First, the court must

 determine whether the declaratory action is justiciable. Typically, this becomes a

 question of whether an ‘actual controversy’ exists between the parties to the

 action. . . . Second, if it has jurisdiction, then the district court must resolve whether

 it has the ‘authority’ to grant declaratory relief in the case presented. . . . Third, the

 court has to determine how to exercise its broad discretion to decide or dismiss a

 declaratory judgment action.”14

        In this case, there clearly is an actual controversy between the parties to the

 action. Not one but two lawsuits have been filed, in which it must be decided

 whether Montpelier’s insurance policy affords defense and indemnity to the Henrys.

        12
               Sherwin–Williams v. Holmes County, 343 F.3d at 387; Orix Credit Alliance, Inc. v.
 Wolfe, 212 F.3d 891, 895 (5th Cir. 2000).
        13
               28 U.S.C.A. § 2201(a).
        14
               Orix Credit Alliance v. Wolfe, 212 F.3d at 895.

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 “An actual controversy may exist when an insurance carrier seeks a declaratory

 judgment that it has a duty neither to defend nor indemnify its insured in a state court

 action that has not yet proceeded to judgment. The district court thus had jurisdiction

 to rule on the duty to indemnify despite the fact that the underlying state court suit

 had not yet reached final judgment.”15 In this suit, there is no ripeness issue.

 Montpelier’s complaint presents an actual controversy concerning the coverage

 afforded by its insurance policy, and sufficient facts are set forth in Montpelier’s

 complaint and in the state-court petitions that were attached to the parties’ briefing

 to permit an understanding of the issues that will ultimately have to be decided.

        Second, there is no question that this court has the authority to grant the

 declaratory relief sought by Montpelier. As noted above, this court has subject-matter

 jurisdiction over this action. No issue has been raised concerning this court’s

 personal jurisdiction over the parties to this action. The suit was filed in a court of

 proper venue. Succinctly, no jurisdictional or procedural obstacles have been

 identified as interfering with this court’s authority to decide the dispute that is

 presented here.




        15
                 American States Insurance Co. v. Bailey, 133 F.3d 363, 368 (5th Cir. 1998) (internal
 citations omitted).

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       Third, as in every declaratory judgment action, this court has broad discretion

 to dismiss or decide the issues presented. “A district court has broad, but not

 unfettered, discretion to retain or dismiss a declaratory judgment suit.”16 In fact, “[i]t

 is now well-settled in the Fifth Circuit that a district court has discretion over whether

 to decide or dismiss a declaratory judgment action.”17 But a district court may not

 dismiss a request for declaratory relief on the basis of whim or personal

 disinclination; instead, the court must address and balance the purposes of the

 Declaratory Judgment Act and the factors relevant to the applicable abstention

 doctrine.18

       The undersigned finds that Montpelier’s complaint alleges sufficient facts to

 establish that an actual controversy is currently before this court and that this court

 has authority to decide that controversy. Nevertheless, this court must decide whether

 the parties’ dispute should be decided, stayed, or dismissed.

 C.    SHOULD THIS COURT ABSTAIN?

       In this lawsuit, Montpelier seeks a determination that it does not owe the

 Henrys defense or indemnity with regard to the allegations asserted by the Henrys in


       16
               American States v. Bailey, 133 F.3d at 368.
       17
               Travelers v. Louisiana Farm Bureau, 996 F.2d at 778.
       18
               Travelers v. Louisiana Farm Bureau, 996 F.2d at 778.

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  the underlying state-court lawsuit. The Henrys contend that this action should be

  dismissed so that the insurance coverage question can be decided in state court.

         Federal courts have a “virtually unflagging” obligation to exercise the

  jurisdiction granted to them.19 Accordingly, the mere “pendency of an action in the

  state court is no bar to proceedings concerning the same matter in the Federal court

  having jurisdiction.”20 In “extraordinary and narrow” circumstances,21 however, a

  district court may abstain from exercising its jurisdiction but “[a]bstention from the

  exercise of federal jurisdiction is the exception, not the rule.”22 However, “as a

  general rule, the district court may not consider the merits of the declaratory judgment

  action when 1) a declaratory defendant has previously filed a cause of action in state

  court against the declaratory plaintiff, 2) the state case involves the same issues as

  those involved in the federal case, and 3) the district court is prohibited from

  enjoining the state proceedings under the Anti–Injunction Act,”23 which generally


         19
                Transocean Offshore USA, Inc. v. Catrette, 239 Fed. App’x. 9, 11 (5th Cir. 2007),
  Black Sea Investment, Ltd. v. United Heritage Corp., 204 F.3d 647, 650 (5th Cir. 2000); Colorado
  River Water Conservation District v. United States, 424 U.S. 800, 817 (1976).
         20
                 Colorado River v. United States, 424 U.S. at 817, quoting McClellan v. Carland, 217
  U.S. 268, 282 (1910). See, also, Transocean Offshore v. Catrette, 239 Fed. App’x. at 11.
         21
                 Superior Diving Co. Inc. v. Cortigene, 372 Fed. App’x 496, 498 (5th Cir. 2010); Black
  Sea v. United Heritage, 204 F.3d at 650; Colorado River v. United States, 424 U.S. at 813.
         22
                 Colorado River v. United States, 424 U.S. at 813.
         23
                 Travelers v. Louisiana Farm Bureau, 996 F.2d at 776.

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  precludes a federal court from staying state-court proceedings. “[T]he issuance of a

  declaratory judgment in such situations would be antithetical to the noble principles

  of federalism and comity.”24 That is the situation presented here, except that the state-

  court claim against Montpelier was not asserted until after this lawsuit was filed.

         There are two potentially applicable standards. If the suit seeks only a

  declaration of rights, the district court's discretion to stay or dismiss the suit is

  governed by the standard articulated in Wilton v. Seven Falls Company, 515 U.S. 277,

  288 (1995), and Brillhart v. Excess Ins. Co. of America, 316 U.S. 491 (1942), but if

  the suit involves a request for monetary or other coercive relief, even if declaratory

  relief is also sought, the standard articulated in Colorado River Water Conservation

  District v. United States, 424 U.S. 800 (1976), is applied.25 The parties did not

  address the issue of which of these two standards should be applied in this case.

         A review of Montpelier’s complaint reveals that it primarily seeks declaratory

  relief but also seeks “such other further and different relief as may be necessary and

  proper, including attorney’s fees and costs, as the justice of this cause may require

  and permit.” (Rec. Doc. 1 at 4). There is authority for the proposition that a request



         24
                Travelers v. Louisiana Farm Bureau, 996 F.2d at 776.
         25
                 American Guarantee & Liability Ins. Co. v. Anco Insulations, Inc., 408 F.3d 248,
  250-51 (5th Cir. 2005).

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  for the recovery of defense costs asserted in an action seeking a coverage declaration

  does not transform the action from a declaratory judgment action to an action seeking

  coercive relief.26 Accordingly, the undersigned finds that, despite the claim for the

  recovery of attorneys’ fees, Montpelier’s lawsuit remains, at its core, a declaratory

  judgment action. Accordingly, the undersigned finds that the Wilton/Brillhart

  standard provides the proper framework for analyzing whether this Court should

  abstain from resolving the dispute presented in this lawsuit.

  D.    THE WILTON/BRILLHART STANDARD

        In Wilton v. Seven Falls Company, the United States Supreme Court confirmed

  its prior decision in Brillhart v. Excess Ins. Co. of America, by stating that

               [i]f a district court, in the sound exercise of its judgment,
               determines after a complaint is filed that a declaratory
               judgment will serve no useful purpose, it cannot be
               incumbent upon that court to proceed to the merits before
               staying or dismissing the action.27

  The Court concluded that it is within a district court’s discretion to stay an “action for

  declaratory relief where parallel proceedings, presenting opportunity for ventilation

  of the same state law issues, were underway in state court.”28

        26
              Massachusetts Bay Insurance Co. v. Lewis, No. 10-585-BAJ-DLD, 2011 WL
  1261145 (M.D. La. Mar. 31, 2011).
        27
               Wilton v. Seven Falls Company, 515 U.S. at 288.
        28
               Wilton v. Seven Falls Company, 515 U.S. at 290.

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         To assist in defining the parameters of a district court’s discretion, the Fifth

  Circuit developed a seven-factor test for deciding whether to retain jurisdiction over

  declaratory judgment actions.29 The factors are not exhaustive, mandatory, or

  exclusive30 and address three broad considerations – federalism, fairness/improper

  forum shopping, and efficiency.31 They are: (1) whether there is a pending state

  action in which all of the matters in controversy may be fully litigated; (2) whether

  the plaintiff filed suit in anticipation of a lawsuit filed by the defendant; (3) whether

  the plaintiff engaged in forum shopping in bringing the suit; (4) whether possible

  inequities exist by allowing the declaratory plaintiff to gain precedence in time or to

  change forums; (5) whether the federal court is a convenient forum for the parties and

  witnesses; (6) whether retaining the lawsuit in federal court would serve the purposes

  of judicial economy; and (7) whether the federal court is being called upon to

  construe a state judicial decree involving the same parties and entered by the court

  before whom the parallel state suit between the same parties is pending.32 The




         29
                 St. Paul Insurance Co. v. Trejo, 39 F.3d 585, 590-91 (5th Cir. 1994). See, also,
  Travelers v. Louisiana Farm Bureau, 996 F.2d at 778 (citing the first six factors).
         30
                Granite State v. Tandy Corp., 986 F.2d at 96.
         31
                Sherwin-Williams v. Holmes County, 343 F.3d at 390-391.
         32
                St. Paul v. Trejo, 39 F.3d at 590-91.

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  undersigned finds that, in this case, the seven factors militate in favor of this Court

  declining jurisdiction over this case.

        Here, the first factor, whether there is a pending state action in which all of the

  matters in controversy may be fully litigated, weighs heavily against this Court

  hearing the case. “[A]bstention from a declaratory judgment action is ordinarily

  appropriate when the state offers an adequate alternative forum in which to resolve

  the particular dispute.”33 When this case began, the Henrys had already filed suit in

  Louisiana state court, seeking recovery for their damages, but no claim had yet been

  asserted by the Henrys against Montpelier. Such a claim has now been filed, and as

  between the Henrys and Montpelier, the matter to be resolved is the interpretation of

  an insurance policy. That issue has now also been placed before the state court, and

  it is a matter that can be competently resolved in that forum. No question of federal

  law has been presented. “[I]f the federal declaratory judgment action raises only

  issues of state law and a state case involving the same state law issues is pending,

  generally the state court should decide the case and the federal court should exercise

  its discretion to dismiss the federal suit.”34 This factor has been considered “of




        33
               Southwind Aviation, Inc. v. Bergen Aviation, Inc., 23 F.3d 948, 950 (5th Cir. 1994).
        34
               Sherwin-Williams v. Holmes County, 343 F.3d at 390-391.

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  paramount concern.”35 Consequently, this is precisely the type of case in which the

  federal court should defer to a related state-court action.

         The second factor to be considered is whether the plaintiff filed suit in

  anticipation of a lawsuit filed by the defendant. In this case, the state-court lawsuit

  was already ongoing when Montpelier filed this lawsuit, but no claim had been

  asserted against Montpelier. Although no evidence has been presented on this point,

  Montpelier may have initiated this action in anticipation of the state-court suit being

  amended to assert a claim against it. However, “[t]he mere fact that a declaratory

  judgment action is brought in anticipation of other suits does not require dismissal of

  the declaratory judgment action by the federal court.”36 The undersigned finds that

  this factor is neutral.

         The third factor is whether Montpelier engaged in forum shopping in bringing

  the suit. The Henrys argue that this is their primary reason for seeking dismissal of

  this suit, describing Montpelier’s suit as “a classic case of forum shopping.” (Rec.

  Doc. 12-1 at 3). Although Montpelier decided to bring suit in this forum rather than

  asserting a claim in the already pending state-court matter, there is no evidence that

  it selected this forum to gain some sort of advantage. Important to this inquiry is

         35
                American Fidelity Insurance Co. v. Acadian Geophysical Services, Inc., No. Civ.A.
  97-2915, 1997 WL 786233, at *2 (E.D. La. Dec. 18, 1997).
         36
                Sherwin-Williams v. Holmes County, 343 F.3d at 397.

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  “whether there was a legitimate reason to be in federal court.”37 A desire to avoid a

  plaintiff-friendly state court jury is not an illegitimate reason.38 Similarly, a party

  seeking to avail itself of the traditional justification for diversity jurisdiction, ensuring

  fairness for out-of-state litigants, is not an illegitimate reason for filing suit in federal

  court.39 Montpelier is an out-of-state company, and there is no evidence that it chose

  this forum for any illegitimate reason. The undersigned finds that this factor does not

  favor abstention.

           The fourth factor to be considered is whether there are possible inequities in

  allowing the declaratory plaintiff to gain precedence in time or to change forums. No

  trial date has been set in this action, and the parties provided no information

  concerning whether the state-court action has been set for trial. Still, permitting this

  case to move forward would create the very real possibility of inconsistent and/or

  incomplete rulings. The undersigned finds that this weighs heavily in favor of this

  Court deferring to the state-court proceeding.




           37
                 American Employers' Insurance Co. v. Eagle, Inc., 122 Fed. App’x 700, 703 (5th Cir.
  2003).
           38
                 American Employers' v. Eagle, 122 Fed. App’x at 703.
           39
                American Employers' v. Eagle, 122 Fed. App’x at 703; Sherwin-Williams v. Holmes
  County, 343 F.3d at 399.

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        The fifth factor is whether the federal court is a convenient forum for the

  parties and witnesses. The parties did not address this factor, and the undersigned

  finds that it is neutral. The St. Landry Parish courthouse is less than half an hour’s

  drive from the federal courthouse where this action is pending, and this Court is not

  persuaded that one forum is more convenient than the other. The undersigned finds

  that the two forums are equally convenient.

        The sixth factor is whether retaining the lawsuit in federal court would serve

  the purposes of judicial economy. The undersigned finds this to be a critical issue.

  The state-court suit now involves all of the parties to the insurance contract at issue

  as well as the parties who are not participants in the federal-court litigation but whose

  testimony will be critical on factual issues related to the insurance coverage issue.

  Although whether an insurance policy affords coverage is a legal issue, there always

  are factual determinations that must be made before that legal issue can be resolved.

  In this case, interpretation of the policy provision cited by Montpelier will require

  determinations about the nature and design of the parade float, the ownership of the

  float’s components, the way that the parade was conducted, the mechanics of the

  accident, and the nature of the damages sustained by the Henrys. Therefore, retaining

  the lawsuit in federal court would not serve the goal of judicial economy. To the

  contrary, it would increase the potential that the goal of judicial economy would be

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  thwarted if the two courts reach inconsistent factual conclusions or interpret the

  insurance policy in different ways. The goal of judicial economy would be better

  served if the insurance coverage issue were litigated in the state-court proceeding.

         The final factor, whether the federal court is being called on to construe a state

  judicial decree involving the same parties and entered by the court before whom the

  state-court suit between the same parties is pending, is not an issue in this lawsuit.

         In summary, the undersigned finds that three of the seven factors weigh heavily

  in favor of the court abstaining, while the other factors are neutral. The ultimate

  purpose for evaluating these factors is to decide “whether the questions in

  controversy between the parties to the federal suit. . . can better be settled in the

  proceeding pending in state court.”40 “Fundamentally, the district court should

  determine whether the state action provides an adequate vehicle for adjudicating the

  claims of the parties and whether the federal action serves some purpose beyond mere

  duplication of effort.”41 The undersigned finds that the dispute presented in this

  lawsuit can better be settled in the related proceeding that is pending in Louisiana

  state court.


         40
                 American Employers' v. Eagle, 122 Fed. App’x at 702, quoting Brillhart v. Excess,
  316 U.S. at 495.
         41
                 Magnolia Marine Transport Co., Inc. v. Laplace Towing Corp., 964 F.2d 1571, 1581
  (5 Cir. 1992), quoting PPG Indus., Inc. v. Continental Oil Co., 478 F.2d 674, 682 (5th Cir. 1973).
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  E.     SHOULD THE ACTION BE STAYED OR DISMISSED?

         The discretion afforded to a district court permits either staying or dismissing

  a suit when abstention is appropriate. Rather than merely finding that this action

  should be stayed, however, the undersigned finds that this lawsuit should be

  dismissed. The court has discretion to dismiss this matter sua sponte.42 There is a

  pending state-court action in which all of the matters presented in this lawsuit may

  be fully litigated. A determination will be made in the state-court lawsuit as to

  whether the Henrys were damaged as a result of the actions or omissions of the

  defendants named in that suit and, if so, the nature of the damages so sustained. Even

  if Montpelier had not been named as a direct defendant in that lawsuit, it would serve

  no useful purpose for the court to conduct further proceedings until those issues are

  resolved. As the state-court lawsuit is now postured, with the Henrys having asserted

  a claim against Montpelier, the state court will also be called upon to determine if the

  Henrys’ claims are covered under Montpelier’s policy. Proceeding to trial in this

  forum might lead to a ruling that ultimately turns out to be inconsistent with the state


         42
                   See, e.g., Clarendon America Ins. Co. v. Faulk & Foster Real Estate Services, No.
  08-4286, 2009 WL 511308, at *3 (E.D. La. Feb. 27, 2009) (“the Court’s broad discretion allows it
  to sua sponte dismiss this action in lieu of staying it.”). See, also, Agora Syndicate, Inc. v. Robinson
  Janitorial Specialists, Inc., 149 F.3d 371, 373 (5th Cir. 1998) (acknowledging without disapproval
  that district court dismissed declaratory judgment action sua sponte); Houston General Insurance
  Co. v. Taylor Lumber & Treating, Inc., No. CIV.A. 96-1523, 1997 WL 40633, at *3 (E.D. La. Jan.
  30, 1997) (dismissing suit sua sponte).

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  court’s ruling, creating unnecessary issues and unnecessarily complicating the

  procedural posture of both lawsuits.

         After careful consideration, the undersigned finds that permitting the

  underlying litigation to proceed unimpeded would be the better course of action.

  Therefore, applying the Wilton/Brillhart standard, the undersigned recommends that

  the court exercise its discretion and decline to proceed further, dismissing this action

  with prejudice.

  F.     THIS COURT’S INHERENT POWER TO ABSTAIN

         Even when neither the Wilton/Brillhart standard nor the Colorado River

  standard is applicable, “district courts have inherent power to stay a federal lawsuit

  in favor of a concurrent state court proceeding.”43 “Such a stay should not be granted

  unless the other tribunal has the power to render an effective judgment on issues that

  are necessary to the disposition of the stayed litigation The court also should

  consider whether the federal action serves some purpose beyond mere duplication of

  effort.”44




         43
                 Primerica Life Insurance Co. v. Twyman, No. 3-01-CV-1659-BD, 2002 WL 83750,
  at *3 (N.D. Tex. Jan. 14, 2002). See, also, Itel Corp. v. M/S Victoria U. (Ex Pishtaz Iran), 710 F.2d
  199, 202-03 (5th Cir. 1983).
         44
                Primerica v. Twyman, 2002 WL 83750, at *3 (internal citations omitted), citing Itel
  Corp. v. M/S Victoria, 710 F.2d at 203.

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         In this case, the state court has the authority to decide issues that are necessary

  to the disposition of the insurance coverage issue that is currently before this court,

  and it is competent to do so. Permitting this action to move forward would do little

  more than duplicate the efforts being undertaken in state court and potentially create

  a procedural tangle from which the litigants will likely have a difficult time extracting

  themselves.

         Accordingly, in order “to control the disposition of the causes on its docket

  with economy of time and effort for itself, for counsel, and for litigants,”45 the

  undersigned recommends that the court decline further jurisdiction over this action

  and dismiss this lawsuit with prejudice.

                                          CONCLUSION

         The undersigned finds that it has subject-matter jurisdiction over this action

  and that Montpelier has stated a valid claim for declaratory relief. The undersigned

  further finds that, under the standard articulated in the Wilton/Brillhart abstention

  doctrine, with a nod to the court’s inherent power, the better course of action is to

  dismiss this action with prejudice. Accordingly, the undersigned recommends that

  the pending motion to dismiss (Rec. Doc. 12) be GRANTED, not because Montpelier



         45
                 Primerica v. Twyman, 2002 WL 83750, at *3, quoting Itel Corp. v. M/S Victoria, 710
  F.2d at 203.

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  has failed to state a claim upon which relief may be granted but because the court has

  discretion to dismiss declaratory judgment actions, and the undersigned further

  recommends that this action be DISMISSED WITH PREJUDICE.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed. R. Civ. P. 72(b),

  parties aggrieved by this recommendation have fourteen days from service of this

  report and recommendation to file specific, written objections with the Clerk of

  Court. A party may respond to another party’s objections within fourteen days after

  being served with of a copy of any objections or responses to the district judge at the

  time of filing.

        Failure to file written objections to the proposed factual findings and/or the

  proposed legal conclusions reflected in the report and recommendation within

  fourteen days following the date of its service, or within the time frame authorized by

  Fed. R. Civ. P. 6(b), shall bar an aggrieved party from attacking either the factual

  findings or the legal conclusions accepted by the district court, except upon grounds

  of plain error. See Douglass v. United Services Automobile Association, 79 F.3d

  1415 (5th Cir. 1996).

        Signed at Lafayette, Louisiana, this 26th day of March 2014.

                                          ____________________________________
                                          PATRICK J. HANNA
                                          UNITED STATES MAGISTRATE JUDGE

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